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                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION
IN RE:                                                  §
                                                        §
JASON SCHMITZ                                           §        CASE NO.: 18-35582
dba JASON SCHMITZ/SCHMITZ                               §        CHAPTER: 7
INSURANCE                                               §
CHRISTINA SCHMITZ                                       §
       DEBTOR.                                          §


       MOTION FOR RELIEF FROM THE STAY REGARDING SURRENDERED PROPERTY
THIS IS A MOTION FOR RELIEF FROM THE AUTOMATIC STAY. IF YOU OBJECT TO THE GRANTING OF RELIEF
FROM THE AUTOMATIC STAY, YOU SHOULD CONTACT THE MOVANT IMMEDIATELY TO TRY TO REACH AN
AGREEMENT. IF YOU CANNOT REACH AN AGREEMENT, YOU MUST FILE A WRITTEN RESPONSE AND SEND A
COPY TO MOVANT NOT LATER THAN MARCH 29, 2018 AND YOU MUST ATTEND THE HEARING.

THE COPY SENT TO THE MOVANT MUST BE DELIVERED BY HAND OR ELECTRONIC DELIVERY IF IT IS SENT
LESS THAN 7 DAYS PRIOR TO THE HEARING. UNLESS THE PARTIES AGREE OTHERWISE, THE HEARING MAY
BE AN EVIDENTIARY HEARING AND THE COURT MAY GRANT OR DENY RELIEF FROM THE STAY BASED ON
THE EVIDENCE PRESENTED AT THIS HEARING. IF A TIMELY OBJECTION IS FILED, THE COURT WILL
CONDUCT A HEARING ON THIS MOTION ON APRIL 23, 2019 AT 10:00 AM IN COURTROOM 600, 6TH FLOOR, 515
RUSK, HOUSTON, TX 77002.


1. This motion requests an order from the Bankruptcy Court authorizing the person filing this motion to
foreclose on or to repossess the property that is identified in paragraph 3.
2. Movant: U.S Bank National Association, as Trustee, Successor in interest to Bank Of America
National Association, as Trustee, Successor by merger to LaSalle Bank National Association, as Trustee
for Merrill Lynch Mortgage Investors Trust, Mortgage Loan Asset-Backed Certificates, Series 2006-
RM2.
3. Movant, directly or as agent for the holder, holds a security interest in 30 Howell Creek Place, The
Woodlands, TX 77382:1




4. Movant has reviewed the schedules filed in this case. Debtor’s schedules indicate an intention to
surrender the subject property.
5. Type of collateral (e.g., Home, Manufactured Home, Car, Truck, Motorcyle): Home
6. Debtor’s scheduled value of property: $356,930.00.
7. Movant’s estimated value of property: $356,930.00.2
8. Total amount owed to movant, as of March 1, 2019: $405,340.03.3

1
    The note, deed of trust, assignment(s) and corporate resolution are attached as Composite Exhibit “A”.
2
    Valuation determined by the Montgomery County Appraisal Report – attached as Exhibit “B”.
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9. Estimated equity (paragraph 7 minus paragraph 8): $-48,410.03.
10. Total pre and post-petition arrearages: $85,916.35.
11. Total post-petition arrearages, as of March 1, 2019: $9,490.32.
12. Amount of unpaid, past due property taxes, if applicable: $0.00.
13. Expiration date on insurance policy, if applicable: N/A.
14. Movant seeks relief based on the debtor(s)’ failure to make payments. Debtor(s)’ payment history is
attached as Exhibit “C”. Movant represents that the attached payment history is a current payment
history reflecting all payments, advances, charges and credits from the beginning of the loan. Movant
further represents that the payment history is self explanatory or can be interpreted by application of
coding information that is also attached. Movant acknowledges that the Court may prohibit the use of
parol evidence to interpret a payment history that does not satisfy these representations.
15. If applicable: Christina Schmitz (Co-Debtor)
16. Based on the foregoing, movant seeks termination of the automatic stay to allow movant to foreclose
or repossess the debtor(s)’ property and seeks to recover its costs and attorneys’ fees in an amount not to
exceed the amount listed in paragraph 9.
17. Movant certifies that prior to filing this motion an attempt was made to confer with the Debtor(s)’
counsel (or with Debtor(s), if pro se) either by telephone, by e-mail or by facsimile, by the following
person on the following date and time: Lisa Hecker on February 1, 2019 at 12:09 p.m. via email to Kyle
Kenneth Payne, and again by Megan Clontz on March 11, 2019 at 2:19 p.m. via email to Kyle Kenneth
Payne and Jeannie Andresen. An agreement could not be reached. If requested by debtor or debtor’s
counsel, a payment history in the form attached to this motion was provided at least two days, excluding
intermediate weekends and holidays, before this motion was filed.

Date: March 15, 2019                          /s/ Megan F. Clontz
                                              Movant’s counsel signature
                                              Name: Megan F. Clontz
                                              State Bar No.: 24069703
                                              S.D. Tex. Bar No.: 2191929
                                              Address: 2201 W. Royal Ln., Ste. 155
                                                      Irving, Texas 75063
                                              Telephone: (469) 804-8457 ext. 1978
                                              Fax: (469) 804-8462
                                              E-mail: mclontz@alaw.net

                     Certificate of Service and Certificate of Compliance with BLR 4001

         A copy of this motion was served on the persons shown on exhibit “1” at the addresses reflected
on that exhibit on March 15, 2019 by prepaid United States first class mail. Movant certifies that movant
has complied with Bankruptcy Local Rule 4001.


                                              /s/ Megan F. Clontz
                                              Movant’s Counsel


3
    This amount includes the unpaid principal balance, interest amount, escrow advance, and corporate fees.
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EXHIBIT “1” – SERVICE LIST

Jason Schmitz
30 Howell Creek Place
The Woodlands, TX 77382

Christina Schmitz
30 Howell Creek Place
The Woodlands, TX 77382

Kyle Kenneth Payne
Payne & Associates, PLLC
5225 Katy Freeway, Suite 505
Houston, TX 77007

Trustee
Janet S Casciato-Northrup
Hughes Watters and Askanase
1201 Louisiana
28th Floor
Houston, TX 77002

U.S. Trustee
US Trustee
Office of the US Trustee
515 Rusk Ave, Ste 3516
Houston, TX 77002
